                 Case:19-05319-jtg         Doc #:338 Filed: 10/30/2020            Page 1 of 1




                              UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF MICHIGAN


   In re:                                                            Case No. GK 19-05319-jtg

   CHRISTINE SKANDIS,                                                Chapter 7

                           Debtor.                                   Hon. John T. Gregg
                                                    /

                       ORDER STRIKING OBJECTION TO CLAIM NO. 8-2
                          FILED BY DEPERNO LAW OFFICE, PLLC

           On May 4, 2020, Christine Skandis, the debtor in the above-captioned case (the “Debtor”),
   filed an objection [Dkt. No. 159] (the “Objection”) to proof of claim no. 8-2 filed by DePerno Law
   Office, PLLC. The Objection was filed only a few weeks before the court issued an order
   converting the Debtor’s case from chapter 13 to chapter 7 [Dkt. No. 203].

           On May 6, 2020, the Clerk defected the Objection in a notice posted on the docket [Dkt.
   No. 165] and served on the Debtor [Dkt. No. 175]. See LBR 5005-2. The notice informed the
   Debtor that the Objection would need to be refiled because the notice of opportunity to object used
   by the Debtor failed to contain the address of the court for purposes of filing responses to the
   Objection. To date, the Debtor has taken no corrective action. The court has therefore decided to
   strike the Objection without prejudice to any party.1

         IT IS HEREBY ORDERED that the Debtor’s objection to the claim No. 8-2 of DePerno
   Law Office, PLLC is stricken.

          IT IS FURTHER ORDERED that the Clerk shall serve a copy of this Order pursuant to
   Fed. R. Bankr. P. 9022 and LBR 5005-4 on the Debtor, Jeff A. Moyer, Esq., DePerno Law Office,
   PLLC and the United States Trustee.

                                              [END OF ORDER]




   1
           The Debtor may renew the Objection. However, the court may have questions at that time regarding the
   Debtor’s standing given that this is a chapter 7 case.




Signed: October 30, 2020
